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CR118-0082

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

UNITED STATES OF AMERICA INDICTMENT NO.

Vv. 21 U.S.C. § 841(a)(1)
Possession With Intent to
CHARLES KING Distribute a Controlled

Substance (Marijuana)

18 U.S.C. § 924(c)
Possession of a Firearm in
Furtherance of a Drug
Trafficking Crime

THE GRAND JURY CHARGES THAT:
COUNT ONE
Possession With Intent to Distribute a Controlled Substance (Marijuana)
21 U.S.C. $ 841(a)(1)
On or about July 24, 2018, in Richmond County, within the Southern District
of Georgia, the defendant,
CHARLES KING,
did knowingly, and intentionally possess with intent to distribute a mixture or
substance containing a detectable amount of marijuana, a Schedule I controlled

substance:

All in violation of Title 21, United States Code, Section 841(a)(1).
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COUNT TWO
Possession of Firearms in Furtherance of a Drug Trafficking Crime
18 U.S.C. § 924(c)
On or about July 24, 2018, in Richmond County, within the Southern District
of Georgia, the defendant,

CHARLES KING,

did knowingly possess firearms, to wit, a Smith & Wesson SD40 .40 caliber pistol,
Anderson AR-15 .223 caliber rifle, Panzer Arms 12 gauge shotgun, Hi- point model
995, 9mm pistol, Charter Arms .38 special pistol, and a Heritage rough rider .22
caliber pistol, in furtherance of a drug trafficking crime for which he may be
prosecuted in a court of the United States, to wit, Possession With Intent to Distribute
a Controlled Substance in violation of Title 21, United States Code, Section 841(a)(1),
as charged in Count One of this Indictment.

All in violation of Title 18, United States Code, Section 924(c).
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FORFEITURE ALLEGATION
The allegations contained in Count One and Count Two of this Indictment are
hereby re-alleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to Title 18, United States Code, Section 924(d), Title 21, United States Code,

Section 853, and Title 28, United States Code, Section 2461(c).

Pursuant to Title 21, United States Code, Section 853, upon conviction of the
offense alleged in Count One of this Indictment, the defendant, CHARLES KING,
shall forfeit to the United States any property constituting, or derived from, any
proceeds obtained, directly or indirectly, as the result of such offense and any
property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, the offense.

Upon conviction of either of the offenses alleged in Counts One and Two of this
Indictment, the defendant, CHARLES KING, shall forfeit to the United States
pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28, United
States Code, Section 2461(c) any firearm and ammunition involved in that offense,
including, but not limited to a Smith & Wesson SD40 .40 caliber pistol, S/N FXY0561,
Anderson AR-15 .223 caliber rifle, S/N 34051F13, Panzer Arms 12 gauge shotgun,
S/N YD-17-03598, Hi- point model 995, 9mm pistol, S/N E36036, Charter Arms .38
special pistol, S/N 13-49827, A Masterpiece Arms .45 caliber pistol, S/N A4227 anda

Heritage rough rider .22 caliber pistol, S/N T37830.

(signatures follow on the next page)
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Gf 4 Avian On
Bobby eX a Michael A. Marchman, Jr.
United States Attorney Special Assistant United States Attorney
Lead Counsel

 

Brian T. Rafferty
Assistant United States Attorney
Chief, Criminal Division
